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US. DISTRICT COURT- ND. OF Ny
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UNITED STATES DISTRICT COURT . MAR 1 8 2024
NORTHERN DISTRICT OF NEW YORK
KHALEED DIOMANDE #19~A-0348, AT___- O'CLOCK
. John M, Domurad. Clark “ytacuse
Plaintiff, .
~v- VERIFIED AMENDED COMPLAINT

ORG GABRIEL SOLOMON, DSP MORRIS
C.O. CALEB GOMES, DSA B. BLAZE
C.0. P. PASCUZZI, ORG PULLEN,
DSS J. LAMAY, RODRIQUEZ,

‘SGT. EXSTRAND, et al.,

Defendants. 9:22-CV-733(GTS/DJS)0

ALL DEFENDANTS ARE BEING SUED IN THEIR
PERSONAL AND OFFICIAL CAPACITY:

PRELIMINARY STATEMENT

PT aintif ft; khaleed—pi omande;—p rose, comes before -this-———-_--—
Honorable Court with his Verified Amended Civil Rights complaintll
pursuant to U.S.C. § 1983, 1988, seeking compensatory, and punitive
damages, as well as legal cost for prosecuting the herein complaint
for unwarranted, unnecessary use of force, unwarranted, unnecessary
use of excessive force, failing to protect plaintiff from assault,
failing to adequately, properly train and Supervise subordinates
and employees, retaliation, falsifying reports to cover up and
justify their illegal acts, violation of due process rights to
justify defendants violating plaintiff's rights.

VENUE
This unlawful. act occurred in the Northern District,

therefore, venue is proper under 28 U.S.C. § 1391(b).
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JURISDICTION
This. Court has jurisdiction over this action pursuant to 28
U.S.C. § 1331 & 1343,
PARTIES TO THIS ACTION
1. Plaintiff Khaleed Diomande, at all times. mentioned
thereafter, is a prisoner serving a sentence in the New York State
Department of Community and Correctional Supervision, (DOCCS) and
is currently housed in Green Haven Correctional Facility, P.O. Box
4000, Stormville, NY 12582.
. 2.’ Defendant DSS LaMay, was assigned as. the Deputy
Superintendent of Security, entrusted with supervising his

/enployees/subordinates, ensuring said employes were properly and-

adequately trained, and further failing to take corrective and
preventive measures that would have prevented plaintiff from being
brutally assaulted, allowing a practice and custom where
unwarranted , unnecessary use of force, use of excessive force were
allowed, as well as ordering and . ‘assisting in fabrication of
reports to justify and cover up their illegal actions, as defendant
LaMay acting alone and/or in conjunction with other named

defendants and/or unidentified defendants did contribute and cause

the violation of plaintiff£' s rights.
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3. Defendant DSP Morris, was assigned as the Deputy
Superintendent of Programs|! (DSP) and was Solmon's superiot ‘and
supervisor, where upon information and belief, defendant Morris
possessed information of incidents where. Solomon has shown a
tendency for prophecies for violence due to prior incidents had
with other incarcerated individuals and/or civilians, and/or was
aware of Solomom' s violent prophecies , failing to take corrective
and preventive measures, ensuring Solomon was adequately and
properly trained in his. job function and duties, and failing to
“properly supervise Solomon after having knowledge of previous
violent incidents Solomon had, as Morris did contribute and/or

cause the violations of plaintiff’ s rights.

4a. Defendant ORC Pullen, while employed at the place of the
incident!! waS a supervisor correctional counselor! who upon
information: and belief possessed . information of Solomon's
‘Prophecies for violence due to previous incidences Solomon had with
other inearcerated individuals. and/or civilians, and failing to
adequately and properly supervise Solomon, ensuring he was
performing adequately in his job description, and not brutally
assaulting incarcerated individuals, as defendant Pullen acting
alone and/or in conjunction with other named defendants did

contribute to the violation of plaintiff's rights.
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5. Defendants Pascuzzi, Gomez and Exstrand at all times
during the incident were ‘correctional officials, who assisted in
the brutal assault of plaintiff, acting in conjunction with each

other and other named defendants, did falsify reports in order to

justify the violation of plaintiff's rights, as there is a practice
and ‘custom ‘where. of ficers/officials are, instructed to ‘falsify
reports to justify and cover up their Lilegal actions/inactions, as
defendants participated in the brutal assault of plaintifé and/or
failed to intervene » as the defendants acting alone and/or in
conjunction with each other and other named defendants, did
contribute and/or cause the violation of plaintiff's cights.

(6. Defendant Gabriel Solomon, at all time relevant to the

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herein complaint was assigned as a counselor, and during the time
of his function as a counselor, defendant exhibit a Prophecies for
violence towards incarce arated individuals and/or Civilians, and the
defendant knowing and intentionally brutally assaulted plaintiff in

retaliation ‘of grievance(s s)/complaint(s) plaintiff filed against
the defendant, as the defendant acting alone and/ox in conjunction
with other identified and unidentified defendants, did contribute
and/or caused the violation of plaintiff's vighes, allowing
defendant to falsify and file a: false report in att empt to justify

and cover up his illegal acts.
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7. Defendant Blaze, at all times relevant to the herein
complaint was assigned as the hearing officer for plaintiff's
disciplinary hearinllll add during said hearing, defendant was ‘not
faic or impartial, denyinl! plaintiff's due process rights to call
witnesses and access to relevant documentary evidence, knowingly
-and- intentionally finding plaintiff guilty of the disciplinary
charges in violation of plaintiff's due proces rights to cover up
and justify Solomon and other: defendant's violating plaintiff's
rights, as defendant acting alone and/or in conjunction with other
identified defendants, did contribute and/or cause the violation of
plaintiff's rights.

8. Defendant Rodriquez!!! at all times relevant was ‘assigned

as the review officer for. disciplinary hearings, failed to notify
plaintif£ of the decision rendered on the appeal of defendant's
Blaze disciplinary determination, defendant Rodriquez acting in
- conjunction with other named defendants contributed and/or cause
the violation of plaintiff's rights, where defendant Rodriquez is
working in conjunction with other defendants to cover up their
illegal acts. . .
PREVIOUS LAWSUIT IN STATE AND FEDERAL COURT

Plaintiff has never filed any civil litigations in State or
Federal Court.

EXHAUSTION OF REMEDIES
Plaintiff filed grievances and complaints ‘concerning the

‘herein matter. ~
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STATEMENT OF FACTS -
“9. On 10/26/21, approximately 12:0Sp.m., plaintiff has
returned f from the nocn meal and locked in his cell on C2- -gallery. A
minute. or so later, plaintiff's cell decor opened up. Plaintiff
Stuck his head out the celll! looking towards the recreation area
where defendant Gomez was standing by the control panel for C€2-
gal!

10.: Defendant Gomez instructed plaintiff to enter the

recreation room. Plainti£é dressed in his state issued greens and

proceeded in the direction defendant Gomez was located. While

walking towards Gomez, plaintiff heard Gomez statel! “here comes
; Ww

that piece of shit motherfu er. Plaintiff had no idea who Gomez

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was speaking to until plaintiff arrived at the recreation area/room
where a large white male was taking off nis button up shit, placing
“it over the phone boot area, under the Television, on the wall.
Plaintiff was ordered to take a seat, and he complied.

11. Plaintiff observed. defend dant Solomon secure his shirt,
aid at this time Solomon in a black sleeveless undershirt turned to
Plaintiff. Solomon had a grievance in his hand that plaintiff had
filed against the . defendant. Defendant Solomon placed the
grievance(s) on the desk! and began pressing his knuckles on the
desk topl flexing his muscles while towering over plaintiff from
the desk. Defendant Solomom began raising his voice in an
aggressive manner, stating, " ‘you fucking write a grievance against

me?" "Do we have a problem you motherfucking grievance writer?!"

12. Plaintiff answered, no, and defendant Solomon repeated
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his question: two more times, at which time plaintiff stated, "T
don't know." Defendant Solomon stated, "do you want to handle it SO
you wont have to write another grievance, or do I have to. fuck you
up, so you can't write another grievance?" Plaintiff respectfully
asked, and stated to Solomon, "what does that mean?" Solomon Looked ~
at plaintiff, began charging around the desk, lunging at. plaintiff
with closed fits, striking plaintiff with several blows to his head
and facial area, causing plaintiff to fall out the chair, to the
ground. Plaintiff was stuck on his - right side ‘torso, collar
bone/neck area, attempting to regain his balance once knocked to
the floor. Solomon began striking plaintiff with numerous blows to.
his facial and head area, while instructing defendant Gomez to push

the emergency response button.

13. Defendant Gomez joined in assaulting plaintiff, striking
him all over his body, plaintiff attempted to cover up his facell!
when Gomez grabbed plaintiff's waist!’ then legs causing plaintiff
to fall to the floor. Defendant Gomez pinned, turned plaintiff's
legs ina painful position, while Solomon, who had landed in front
of plaintiff, placing him in a choke hold with his right arm, and
he used his left fist to repeatedly punch plaintiff to his facial
and. head areas. Solomon pressed plaintiff's left side of his face
to his chest causing plaintifé breathing difficulties. Plaintiff
managed to wiggle his way slightly, enabling him to breathe a
little bit, while begging, crying for Solomon to stop beating him

_and his inability to breathe.
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14. Plaintiff was brutally assaulted by defendants Solomon,
Gomez, and Pascuzziwho joined in. Solomon continued to strike
plaintiff from behind his head area, he was flat on the ground,
when other officers/officials participated, kicking, beating
plaintiff. Plaintiff was hit with a baton by defendant Gomez
causing him to black out. When plaintif£ came to, Solomon was
kicking plaintiff in his testiclesl' all over his body. A supervisor
enetered asking what was going on. Plaintiff was lifted off of the
floorl! Solomon looked at plaintiff with a smirk on his face and
stated, "nice face motherfucker , have fun in SHU!" Plaintiff was

escorted ta medical and thereafter taken to SHU.

15. Plaintiff received injuries to his head, facial araa,
wristl' nech all over plaintiff's body, chronic lower back pain,
lacerations, as wall as psychological, mental pain and discomfort,
anxiety, depression, constant fear of being assaulted by
correctional employees.

16. Plaintiff was issued a misbehavior report authored by
defendant Solomon charging plaintiff with several rule viclations.

The report filed by defendant Solonion was fabricated and falsel! as

false reports were filed in order to cover up the defendant's |

illegal actions and justify the violation of plaintiff's rights.
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17. Defendant blaze was ‘assigned as the hearing officer!
(H.O.) and during the commencement of the hearing, plaintiff
entered a plea of not guilty, requesting documentary evidence in
the ‘form of reports, Unusual reports, as well as “requested
Witnesses. The hearing was adjourned.
18. Plaintiff was returned to the hearing where witnesses
testified, giving conflicting testimony. Defendant Blaze failed to
disclose documentary evidence in the form of reports, To and Froms,
unusual incident reports pertaining to the incident. Plaintiff
requested defendant recall a witness, and denied plaintiff request
without issuing a justifiable reason for the denial.

19. Defendant Blaze and plaintiff had off -the record

conversations pertaining to the hearing, where defendant Blaze |

stated to plaintif£l! "you can call as many witnesses as you want.
and waste timel' I'm still finding you guilty, you assaulted a_

counselor,” "TI don't believe Solomon retaliated against you, you
were upset because he did not put your numbers on your phone list,

i know what this is about.”

20. Defendant Blaze violated plaintiff's due process rights
to call witness, as well as plaintif£' s right to submit and present
relevant documentary evidence, as the H.O. was not fair and
impartial,. and hal! af predetermined mind: set, as the 4.0.
-actions./inactions were done to cover up other. named defendants

illegal actions, and justify said illegal actions.
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21. Plaintiff was found guilty of the fabricated, false MBR.
Plaintiff filed an appeal of defendant's Blaze "determination to
Albany, where defendant. Rodriques _ was “assigned to review
disciplinary appeals! and render a determination within sixty (60)
days, making plaintiff aware of the determination. Plaintiff did
not become aware that Rodriquez had made a determination until the
review of documents that the defendants disclosed recently, and in.
these document's were the decision defendant Rodriquez made denying
plaintifé' Ss appeal.

. 22. Defenadnt Rodriquez failed to make plaintiff aware of -
the determination in order for plaintiff to appeal Rodriquez

determination via Article 78 proceeding, where there is -a time

requirement for filing AFEVETe 72 proceedings challenging
disciplinary determination. Plaintiff was denied his right to
appeal defendant Rodriquez denial of plaintiff's appeal. Upon |
' information and belief, defendant Rodriquez communicated with named
defendants concerning plaintiff's disciplinary hearing! and acted
in conjunction with said named defendants to cover up and justify
/ these defendants violation of plaintiff's rights, by further
violating plaintiff's due process rights. Defendant Rodriquez job
function was to review Plaintiff’ Ss appeal and notifying plaintiff .
as to the determination rendered, and Rodriquez failed to do so in

this instance.
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23. Plaintiff during his disciplinary proceedings requested
an assistant, gt. Bailey was assigned. Sgt. Bailey spoke to
plaintiff, making plaintiff aware that the administration were
focused. on defendant Solmon because Solomon has been involved in
previous violent incidents with other incarcerated Ladividuals.

24. Defendant Blaze actions in finding plaintiff guilty was
punitive and done on the behest of getendant Solomon and/or other
named defendants in order to cover up and justify defendants
illegal acts.

25. While confined in SHU, plaintiff was unable to eat,
sleep, was in constant fear for his Life and safety. Plaintiff was

on a hunger strike due to fear of eating the food because the

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officers were tampering with the food. There were high volume of
noise ail thorough the day and night, leaving plaintiff unable to
read, concentrate, sleep. Plaintiff had repeated dreams of being
beaten brutally.

26. Defendant Exstrand responded to the incident with
plaintiff, where Extranda either participated and/or failed to
intervene, restraining his subordinates from assaulting plaintiff.
There were other officers/officials that responded to the incident,
and participated in. the brutal assault of plaintiff and/or failed
to intervene, restraining their fellow employees from assaulting

plaintiff.
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27. Defendants Morris, Pullen and LaMay as Solomon and other
named defendants and/or supervisors had knowledge and/or had access
to veports/information pertaining to violent conduct of Solomon
and/or defendants Gomez and Pascuzzi, and did nothing to ensure
their subordinates were adequately and properly trained.

28. Defendant Morris and Pullen were Solomon's supervisor
and were aware of Solomon's prophecies for violence based upon
previous incidents where Solomon was involved in use of force
against other incarcerated individuals and/or civilians. After
being made aware of Solomon's prophecies for violence, defendants
Morris and Pullen took no corrective and/or preventive measures,
ensuring Solomon was adequately and properly trained in ‘his job
functions and job description, further failing to supervise
Solomon, to ensure he was conducting himself in accordance to his
job description and title, and net engaging in violent behavior.
Defendants Morris and Pullen were grossly negligent in supervising
Solomon. oo y

29. The violation of plaintiff's rights were done pursuant
to a continuing practice and custom of the officials at C XHACKIE.

30. Defendant LaMay allowed a continued practice and custom
where, employees brutalize incarcerated individuals, using excessive
orce, as well as falsifying reports to cover up and justify their

illegal acts.
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31. Defendant LaMay, job function as Deptuy Superintendent
of Security possessed knowledge of the use of force incidents in
the facility, and access to data that shows the number of use of
force incidents that transpired within the facility prior to LaMay
being assigned DSS, and during his time as DSS at COXSACKIE, where
upon information and belief, LaMay would receive and/or had access
to daily, weekly, monthly and yearly data that showed the number of
use of force incidents.

32. Defendant LaMay could have prevented the brutal assault
of plaintiff, by ensuring his employees were adequately trained and
supervised in their job functions, as well as use of force matters,
as well as their job descriptions and function. Armed with the
knowledge of the custom an practice of employees to use excessive
force and fals sify reports to cover up their illegal acts, LaMay did
nothing to attempt and/or correct the illegal practice and customs
of his employees.

33. Defendant LaMay knew there was a Likely possibility that
his subordinates would engage in excessive use of force based upon
that data he receives concerning use of force incidents, as LaMay
knew of his employees propensity: to engage in conduct causing
plaintiff's injuries. Even after being made aware of the data that
showed a pattern of use of force incidents by his employees, Labiay
took no action to ensure his employees were adequately and properly

trained, never ques stioning the high volume of use of force

incidents.
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, — 34. Defendant LaMay was grossly negligent in supervising his
employees/subordinates that committed the unlawful acts against.
plaintiff, as well as failing to ensure amployees were adequately
and properly trained, after being made aware of a pattern, of
custom and practices of-using excessive force, and fabricating
reports to cover up and justify their illegal acts.

35. Upon information and belief, defendant LaMay allowed a
continuing custom and practice where his employees were encouraged
to falsify reports, allowed to use unnecessary, unwarranted
excessive use of force, covering up said excessive use of force by
falsifying reports.

36. Upon information and belief, defendant LaMay iad
knowledge and/or were aware of complaints/grievances where
incarcerated individuals complained of employees falsifying reports

to cover up and justify their illegal acts and failed to take and

corrective measures.

FIRST CAUSE OF ACTION
Defendant Solomon acting alone and/or in conjunction with
other defendants intentionally retaliated against plaintiff due to

gcievances/complaints plaintiff filed against Solomon.

SECOND CAUSE OF ACTION

Defendants Sclomon, Gomes, and Pascuzzi acting alone and/or
in conjunction with each other, knowingly and intentionally. used

unwarranted, unnecessary excessive force, brutally assaulting

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plaintiff, viclating his rights.
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PHLRD CAUSE OF ACTION

Defendant Exstrand acting alone and/or in conjunction with

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ientified defendants acting in conjunction with each

other, participated in the assault of plaintifi, violating his

Defendants Morris, Puilen and LaMay acting alone and/or in

conjunction with each other, were grossly negligent in supervising

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employees under their direction and control causing the. violation

FIFTH CAUSE OF ACTION

Defendant LaMAy acting alone and/or in conjunction with others
failed to take corrective and preventive measures, ensuring
plaintif’s safety by ensuring his employees were adequately and

properiy trained in their job description, and requirements,

re

allowing a continued custom and practice where excessive force is

used, as weli as faisifying reports to cover up their illegal acts.

SIXTH CAUSE OF ACTION

Defendant Blaze, acting alone and/or in conjunction with
others, knowingly and intentionally violated plaintiff's due

tne hearing, right to presen

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process rights to cal
documentary evidence, as well as right to an impartial hearing
officer in order to cover up and justify Blaze suberdinates
violation of plaintiff rights.

DEVENTH CAUSE OF ACTION

Defdendant Rodriquez acting alone and/or in conjunction with other
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defendants knowingly and intentionally violated plaintiff's due
process rights by failing to inform plaintiff of the decision that
was vendered on his appeal within the prescribed time requirements
set forth in defendant's Policy and Procedures.

EIGHT CAUSE OF ACTION

Defendants Rodriquez knowingly and intentionally denied

plaintiff acces to the court, by Failing to notify plaintiff of the

decision randered on his appeal, giving plaintiff the opportunity
to challenge Rodriquez's decision in a Article 78 preceedings.

NINTH CAUSE OF ACTION

befendant ‘Exstrand acting alone and/or in conjunction with
other unidentified. defendants, knowingly and intentionally failed
to intervene, refraining subordinates from: brutally assaulting
plaintifeé. .

TENTH CAUSE OF ACTION

Defendants Rlaze, Solomon, acting alone and/or in

conjunction with each other willfully malic

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Lously, and unlawfully
confined plaintiff in segregration.

ACTION REQUESTED

Pursuant to Rule 8, subd. A[3] of the Federal Rules of Civil

Procedures, by ferm of deliberate indiffers

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careless, callous and retaliatory acts of the defendants committed

while acting under the Color of Law:

Plaintiff's state of present health, as well as future
health is at risk due to the injuries plaintiff sustained while
being brutally assaulted, as plaintiff xperiences daily

excruc iating | pain fro the assault, as plaintiff has mental
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injuries from the brutal assault where he is unable to sleep, has
heighten anxiety, has constant nightmares. Plaintiff was wrongfully
and illegally confined to tha SHU, confined for 24 hours a day.
Plaintiff was on a hunger strike while in SHU due to fear of being
poisoned by the officials, he. was unable to sleep, participate in
programs, communicate with his family, attend religious services
and events, congregate in a recreational setting with other
incarcerated individuals, participate if the family reunion
program, suffering from mental anguish, emotional stress due to the
actions/inactions of the defendants.

Plaintiff seeks punitive danages in the amount of one million from
each defendant; compensatory damages in the amount of one-million
dollars from each defendant.

Jury Trial on all issues triable by jury.

i declare under the penalty of perjury that the foregoing is true
and correct.

Dated:February , 2024

VERIFICATION

STATE OF NEW YORK )
dss:
COUNTY OF DUTCHESS )

Khaleed Diomande, being duly sworn, deposes and says:
a g PR
foam the plaintiff in the foregoing proceedings, and I have

read the foregoing Amended Complaint, and know the contents

thereof.
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The same is true to my knowledge, except as to those matters
stated to be alleged upon information and belief, and as to those

matters, plaintiff believe them to be true.

sworn te before me this: KHALEED DIOMANDE PLAINTIFF

27 day of FFBA/tay 208
NOTARY PUBLIC : sDrraray

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| PATE. TEOF KEW YORE.

NOTARY PUBLIC, Sif:
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AFFIDAVIT OF SERVICE |

STATE OF NEW YORK _ ) os
) ° SS: eo
COUNTY OF DUTCHESS )

Kh al Ged Diemer wide ; being duly sworn, deposes and says:

Tam the above mentioned Yraleed Qromande and I have served a copy of the

following papers:

Ved aiod mended Civil Gals Complink
pucsuanh U.S.C 8 \4k4

Upon the following party(ies):
Ohniel.). Steud OS ludcele. Ryan V.-Aoncvan MMornwy or Ssloman
OS, Piste oul 0 Boke 1 DO hale, heer ae vcd Flee AY Gee | NY \dale
IO S.Clinton Sheet 00. bx 1567 nor Conta. Ce ney be Gon
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: sorte 0-10. Nibay NY fee ect

By placing the above in a post-paid envelope and depositing it in a United States Postal Service .

mailbox located at Green Haven Correctional Facility, Stormville, N.Y. 12582 on the _ __ day of

; 20 , as due and sufficient service.

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SWORN TO BEFORE ME THIS “ .
Y DAY OF Fasevef 201% | PATRICK LEON MCNEIL
fp / fo NOTARY PUBLIC, STATE OF NEW YORK. j

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NOTARY. PUBLIC | dualifie da Bavax Conaty
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